          Case 1:21-cv-00394-JMC Document 1-1 Filed 02/12/21 Page 1 of 2


pillsburi!
      Pillsbury Winthrop Shaw Pittman し나3
      1650 Tysons Boulevard. Suite 1400 | McLean. VA 22102-4856 | tel 703.7707900 | fax 703.770.7901



                                                                                                C. Joël Van Over
                                                                                                tel: 703.770.7604
                                                                                   joel.vanover@pillsburylaw.com

      February 22, 2017

      VIA EMAIL
      Stephanie Carr
      FOIA Contact
      OSD/JS FOIA Requester Service Center
      Office oi Freedom of Information
      1155 Defense Pentagon
      Washington, DC 20301-1155

               Re:      FOIA Request

      Dear Ms. Carr:

      Pursuant to the Freedom of Information Act, 5 U.S.C. § 522, as amended (“FOIA”),
      we request documents related to the collection of data, the evaluation of data, and the
      calculation of the Basic Allowance for Housing (“BAH”)by the Defense Travel
      Management Office (“DTMO”)or its contractor, for the BAH that will apply in 2017
      in certain military housing areas (“MHAs”): NJ196, NJ 198, NJ200. NJ201, NJ 203，
      NJ 204, PA 248, PA249, and PA255 (“referred to herein as the NJ-PA MHAs”). For
      purposes of this FOIA request, the “BAH” means the BAH for each status category of
      service member and qualified non-service member and each type of housing unit
      related to each.

      Specifically, we request the following documents:

           1. Copies of all anchor point1 data or other data submitted to DTMO (or its
              designee) by any contractor, including by Robert C. Niehaus, Inc., related to
              the determination of each 2017 BAF1 in each of the NJ-PA MHAs.

          2. Documents sufficient to show the real estate professionals consulted by
               DTMO, its contractor(s)，or others, the dates of such consultation, and the
               information provided as a result of such consultations, related to determining
               each 2017 BAH in each of the NJ-PA MHAs.



        ‘Anchor point” and anchor point data are defined in the DTMO publication “A Primer on the Basic
        Allowance for Housing (BAH)，’ dated January 2016, at section 10 (Housing Profiles and Standards),
        attached hereto for reference.

      www pillsburvlaw.com
                                                                                                4843-3344-4414.v2
       Civil Case No.: 1:21-cv-00394                                                                                Exhibit A
   Case 1:21-cv-00394-JMC Document 1-1 Filed 02/12/21 Page 2 of 2
Ms. Joanne Collins
February 22, 2017
Page 2


    3. Copies of all analyses and reports related to market or other data submitted to
        DTMO (or its designee) by any contractor, including by Robert C. Niehaus,
        Inc., or by any government entity (including a base housing office), related to
        the determination of each 2017 BAH in each of the NJ-PA MHAs.

   4. Copies of all recommendations by any contractor，including by Robert C.
        Niehaus, Inc., related to the calculation or detenninati on of each 2017 BAH in
        each of the NJ-PA MHAs.

    5. A copy of each contract with each contractor, including Robert C. Niehaus,
       Inc., and modifications thereto, related to collecting or analyzing data
       pertaining to the determination of each 2017 BAH in each of the NJ-PA
       MHAs.

        We greatly appreciate your providing documents in response to this request as
they are available. We are happy to accept electronic copies of any or all documents
to the extent this is easier and acceptable.

       We will promptly pay for copying and search charges, as required, up to $500.
Please notify us in advance if the anticipated charges are likely to exceed $500.

       Thank you for your assistance in this matter. If you have any questions, or
need clarification, please contact me. I would appreciate receiving a confirmation of
your receipt of this FOIA request.

Very truly yours,



       1 Van Over


Enclosure




www pillsburylaw com
                                                                           4843-3344-4414.V2
